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“Prob 12C (7/93)

UNITED STATES DISTRICT COURT...
for CL TND ta ge
WESTERN DISTRICT OF TEXAS —_—- : i

Amended Petition for Warrant or Summons for Offender Under-:Supervision

Name of Offender: Octavio Amparan TN: OCTAVIO AMPARAN, JR.

Case Number: EP: 18-CR-01732-KC(1)

Name of Sentencing Judicial Officer: Philip R. Martinez, U.S. District Judge

Date of Original Sentence: November 29, 2018

Original Offense: Conspiracy to Transport Non-Citizens, a violation of 8 U.S.C. § 1324(a)(1)(A)(v)(I),
(a)(1)(A)(ii) and (a)(1)(B)(i)

Original Sentence: Eighteen (18) months custody followed by three (3) years supervised release
Type of Supervision: Supervised Release

Date Supervision Commenced: October 5, 2023

Assistant U.S. Attorney: Sarah Valenzuela Defense Attorney: Selena N. Solis

PREVIOUS COURT ACTION
On September 6, 2023, the case was reassigned to Judge Kathleen Cardone.
On September 25, 2023, Amparan’s supervised release was revoked, and he was sentenced to Time
Served followed by two (2) years supervised release due to committing another federal state or local
crime and failing to notify his supervising officer within 72 hours of being arrested. The new term of
supervised release commenced on October 5, 2023.
On November 30, 2023, the Court modified the term of supervision to include participation in the 90-
day Relapse Prevention Program at the El Paso Rescue Mission.

PETITIONING THE COURT
[X] Warrant in Effect
[]  Toissue a summons

The probation officer believes that the offender has violated the following conditions of supervision:

Violation Number 1: The Defendant shall not commit another federal, state, or local crime during the
term of supervision.

Nature of Noncompliance: According to police report number 23338223-0005, on December
4, 2023, an officer with the El Paso Police Department assigned to the Auto Theft Task Force
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was driving an unmarked unit when the officer noticed a Black Chevrolet Avalanche driving at a
high rate of speed. This vehicle caught the attention of the officer due to a Denver Broncos
decal in the rear windshield. This officer recalled from reading stolen vehicle reports, of a black
Chevrolet Avalanche with a Denver Broncos decal, that was reported stolen. The officer
proceeded to continue to follow the black Avalanche and requested a marked unit for assistance
in conducting a traffic stop, to check if the vehicle was the stolen avalanche. This officer
observed the black avalanche continuing to drive at a high rate of speed and passing vehicles
until it came to a complete stop in front of an abandoned Carl's Jr restaurant. The driver then
exited the vehicle and began running towards the Sun Metro bus terminal. At this time, the
officer in the unmarked vehicle continued to follow the subject in his own vehicle and was
shouting out his window for the subject to stop running several times and even shouted “Police
Stop”. During this pursuit the subject was observed to be turning around in which the officer
observed a muzzle flash and could hear the distinctive sound of a firearm. This officer took
cover behind the steering wheel as he continued to drive towards the subject. Finally, after a
continued pursuit the officer drove up to the subject and ordered him to the ground at gunpoint.
At that time assisting units arrived at the scene and the subject who was later identified as
Octavia Amparan was arrested. While searching Amparan, officers found a clear bag with a
white in color crystal-like substance in Amparan’s right shorts pocket. The substance was
transported back to the Regional Command Center to be tested using the NIK test kit. The
crystal-like substance yielded positive results for methamphetamines and the substance was
weighed and it had a gross aggregate weight of 14.43 grams. Amparan is currently in custody
at the El Paso County Detention Facility and is currently being charged with two counts to
include: Count One: Aggravated Assault with a Deadly weapon and count two: Possession CS
PG 1/1B>=4G<200G. It should be noted that this case for Count 1: Aggravated Assault Against
a Public Servant and Count Two: Possession CS PG 1/1B>=4G<200G remain pending under
Cause No. 20230D08770 out of the 210" District Court. Additionally, on February 14, 2024, a
grand jury sitting in the Western District of Texas, El Paso Division, indicted Octavio Amparan
for the offense of Felon in Possession of a Firearm, in violation of 18 U.S.C. § § 922(g)(1) and
924(a)(2), in case number: EP-24-CR-310-KC. An arrest warrant was issued based on these
new charges. The offense date listed in the indictment is December 4, 2023. On March 5, 2024,
the Honorable Robert Castaneda, United States Magistrate Judge, granted the Government's
application for a writ of habeas corpus. On March 8, 2023, the USMS arrested Octavio Amparan
based on the arrest warrant. This case remains pending.

Violation Number 2: The Defendant shall notify the probation officer within seventy-two hours
of being arrested or questioned by a law enforcement officer.

Nature of Noncompliance: There is no evidence Amparan attempted to contact his
supervising officer within 72 hours of him being arrested on December 4, 2023.

Violation Number 3: The Defendant shall not own, possess, or have access to a firearm,
ammunition, destructive device, or dangerous weapon (i.e., anything that was designed or

modified, for the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).

Nature of Noncompliance: According to police report number 23338223-0005, on
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December 4, 2023, the El Paso Police Department officer that was in pursuit of Amparan,
reported Amparan discharged a firearm in the direction of the police officer. The report
further states that officers located the firearm to include the casing at the scene of the
crime. It should be noted that this case for Count 1: Aggravated Assault Against a Public
Servant remains pending under Cause No. 20230D08770.

U.S. Probation Officer Recommendation:

The term of supervision should be
[X] revoked.
[ ] extended for years, for a total term of years.

[ ] modified as follows:

Respectfully submitted, Approved by,
WU UE Vario Sewoorch
Matthew Alvarado Maricela Seward
U.S. Probation Officer Supervising U.S. Probation Officer
Office (915) 585-5566 Office (915) 585-6569
Cellular (915) 412-4101 Cellular (915) 861-8768

Date: August 19, 2024
